Case 2:O5-cr-200lO-.]DB Document 33 Filed 04/26/05 Page 1 of 2 PagelD 28

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|N THE UN|TED STATES D|STR|CT COUR`| w § H'U'* *Z* ""` '
FOR THE WESTERN D|STF{ICT OF TENNESSEEH ____________'__"___,_
WESTEFIN DlVlS|ON
`."=_":]\R'__Z 6 2905

 

UN|TED STATES OF A|VIER|CA,

R bertR. DiTro|io, C__' rk
n ' Ou. s. p'sr count
P|alntlff w. D. oF rN. MEMPH|$

VS. 510 010 -~r?»
CR. NO. 05\29-100-3

ALBERT KIN LEE,

Defendant.

 

OFtDEFi ON CONT|NUANCE AND SPEC|FYlNG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the l\/iay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a gm

date of Tuesdag, lViay 31, 2005, at 9:30 a.m., in Courtroom 1, ‘ltth Floor of the Federal
Bui|ding, l\/lernphisl TN.

 

The period from April 25, 2005 through June 17, 2005 is excludable under 18
U,S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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iT is so onDEnED this 2.!- day nl, 2005.

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Thls document entered on the docket

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D"ISIC COURT - WESERNT D'S'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-200]0 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

